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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             SOUTHERN                                                 DISTRICT OF                                       FLORIDA


                 UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                          JAIME SERRANO                                                                                Case Number: 22-20389-CR-ALTMAN/Reid

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 ROY ALTMAN                                                         UNITED STATES ATTORNEY'S OFFICEJEREMY MCLYMONT
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 8/14/2022 - 9/1/2023                                               Francine Salopek                                         JANIER ARELLANO
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             1                                                      Marco Jimenez

             2                                                      Esther Rodriguez

             3                                                      Brenda Jimenez

             4                                                      Raven Sauri

             5                                                      Alexander Ruben Reyes

             6                                                      Freddy Pena

             7                                                      Gus Sumbrano

             8                                                      Tyron Viruet

             9                                                      Michel Vega

            10                                                      Marco Antonio Muniz aka Marc Anthony

            11                                                      Alexander Muniz

            12                                                      Enrique Santos

            13                                                      Mark Menker

            14                                                      Kyle Tessiero

            15                                                      Yalene Marissa Gonzalez

            16                                                      Graffton Mattis

            17                                                      Rolando Ramirez

            18                                                      Tamrat Mason

            19                                                      Rasheed Ali

            20                                                      Amy Vega

            21                                                      Oscar Ali

            22                                                      Typhani Ali
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    2   Pages
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✎AO 187A (Rev. 7/87)           EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                               CASE NO.
                                        vs.
 PLF.   DEF.      DATE
                          MARKED ADMITTED                                   DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.     OFFERED

        23                                    SA Gerad Starkey


        24                                    SA Frank Califaro

        25                                    SA Samuel Band

        26                                    SA Ryan Dreibelbis

        27                                    SA Jeramiah Landis

        28                                    SA Thomas Pavletic

        29                                    SA Jamie Walker

        30                                    SA Donelle Blackman

        31                                    TFO Juan Alvarez

        32                                    MDPD Det. G. Trujillo ID 4309

        33                                    MDPD Ofc. A. Rivers ID 7400

        34                                    MDPD Det. J. Matus ID 7692

        35                                    MDPD Det. C. Brown Manning ID 5773

        36                                    MDPD Ofc. Y. Garcia ID 3283

        37                                    Alex Vega

        38                                    Julian Jimenez

        39                                    Alex Vage Jr.

         A                                    Kamryn Birthday Party Flyer

         B                                    Cell Site Simulation Video

         C                                    Julian Jimenez Declaration

         D                                    Composite of Aerial maps of Kendall

         E                                    Composite of Aerial maps of Pinecrest


         F                                    Mr. Serrano's TD Bank Statement Records for August 2019

         G                                    Composite Photographs of Alex Vega's Business

        40                                    Juan Ramirez




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